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12   Co-Lead Class Counsel for Indirect-Purchaser Plaintiffs

13
                               UNITED STATES DISTRICT COURT
14
                             NORTHERN DISTRICT OF CALIFORNIA
15
                                    SAN FRANCISCO DIVISION
16
     IN RE TFT-LCD (FLAT PANEL)                    )   Case No. 3:07-MD-1827 SI
17   ANTITRUST LITIGATION                          )   MDL No. 1827
                                                   )
18                                                 )
     This Document Relates to:                     )   [PROPOSED] ORDER RE:
19                                                 )   DISTRIBUTION FROM ESCROW
     All Indirect-Purchaser Actions;               )   FUNDS FOR CLAIMS
20                                                 )   ADMINISTRATION
     State of Missouri, et al. v. AU Optronics     )
21   Corporation, et al., Case No. 10-cv-3619;     )
                                                   )   The Honorable Susan Illston
22   State of Florida v. AU Optronics Corporation, )
     et al., Case No. 10-cv-3517; and              )
23                                                 )
     State of New York v. AU Optronics             )
24   Corporation, et al., Case No. 11-cv-0711.     )
                                                   )
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       [PROPOSED] ORDER RE: DISTRIBUTION FROM ESCROW FUNDS FOR CLAIMS ADMINISTRATION
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 1          WHEREAS, on December 27, 2011, the Court granted final approval to settlements

 2   between the Indirect-Purchaser Plaintiffs (“IPPs”) and the States of Arkansas, California,

 3   Florida, Michigan, Missouri, New York, West Virginia, and Wisconsin (“Settling States”) on the

 4   one hand, and defendants Chimei, Chunghwa, Epson, HannStar, Hitachi, Samsung and Sharp, as

 5   identified in the respective Settlement Agreements, and inclusive of related entities also

 6   identified in the respective Settlement Agreements (collectively, “Group-I Settling Defendants”),

 7   on the other hand; and

 8          WHEREAS, on July 30, 2012, the Court granted preliminary approval to the settlements

 9   between IPPs and the Settling States, and defendants AUO, LG and Toshiba, as identified in the

10   respective Settlement Agreements (collectively, “Group-II Settling Defendants” and with the

11   Group-I Settling Defendants referred to hereafter as “All Settling Defendants”), on the other

12   hand; and

13          WHEREAS, the Settlement Agreements with All Settling Defendants provide that the

14   costs of administration of the claims process shall be paid from the Settlement Fund of each

15   Settling Defendant, pro rata, based on each Settling Defendant’s Settlement Amount; and

16          WHEREAS, the cost of claims administration invoiced by Rust Consulting is

17   $218,134.97 (see Exhibits 1 and 2 attached hereto); and

18          WHEREAS, pursuant to the Settlement Agreements the following amounts may be

19   deducted from each Settling Defendant’s Settlement Fund to pay such costs of claims

20   administration:

21                  Chimei                            $22,230.34

22                  Chunghwa                            $1,069.47

23                  Epson                                 $574.54

24                  HannStar                            $5,170.86

25                  Hitachi                             $7,857.54

26                  Samsung                            $48,382.35

27                  Sharp                             $23,284.00

28                  AUO                                $32,557.29
                                              1
       [PROPOSED] ORDER RE: DISTRIBUTION FROM ESCROW FUNDS FOR CLAIMS ADMINISTRATION
               Case 3:07-md-01827-SI Document 9268 Filed 10/17/14 Page 3 of 7


 1                   LG                                $72,775.12

 2                   Toshiba                            $4,233.46

 3                   TOTAL                            $218,134.97
 4            WHEREAS, Well Fargo Bank, N.A. has informed the parties that it requires an order
 5   from the Court before it will distribute payment for these additional costs;
 6            THEREFORE, IT IS HEREBY ORDERED that Wells Fargo Bank, N.A. shall wire
 7   $218,134.97 to the following account:
 8                   Bank of Texas
 9                   ABA/Routing # 111014325
10                   Account # 8093434387
11                   Account Name: Rust Consulting
12                   Reference # 128325
13                   Federal Tax ID # XX-XXXXXXX
14                   Bank Contact: Mayra Landeros, (214) 987-8817
15            The balance of funds in the demand-deposit account, if any, shall be retained for
16   additional costs as they are incurred.
17

18   IT IS SO ORDERED.
19
                  October 17
20   Dated:                          , 2014
                                                   Hon. Susan Illston
21                                                 United States District Judge

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       [PROPOSED] ORDER RE: DISTRIBUTION FROM ESCROW FUNDS FOR CLAIMS ADMINISTRATION
Case 3:07-md-01827-SI Document 9268 Filed 10/17/14 Page 4 of 7




            EXHIBIT 1
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                                                                                                                     Invoice

  625 MARQUETTE AVENUE, SUITE 880                                                                 DATE:                            08/22/14
  MINNEAPOLIS, MN 55402                                                                           INVOICE #:                       14-5605
  P 612.359.2000 I F 612.359.2050                                                                 MATTER #:                           8292
  WWW.RUSTCONSULTING.COM
  FEDERAL ID #: XX-XXXXXXX


  TO: Francis O. Scarpulla
        Zelle Hofmann Voelbel & Mason LLP
        44 Montgomery Street
        Suite 3400
        San Franciso, CA 94104
       fscarpulla@zelle.com
       jdc@coopkirk.com

                                                                 PROJECT
                                                          LCD Indirect
                                            July 2014 Claims Administration Services

  Project Database                                                                                                     $           294.80
  Project Management                                                                                                             9,169.70
  Technical Consulting                                                                                                             232.80
  Website Modification                                                                                                           1,524.00
  Document Receipting                                                                                                              123.20
  Scanning                                                                                                                         152.06
  Correspondence/Admin Mail                                                                                                      3,133.00
  Data Capture                                                                                                                      76.45
  Claims Validation & Audits                                                                                                    52,951.80
  Deficiency Claim Processing                                                                                                   11,070.50
  Mailroom & Data Capture Management                                                                                                62.80
  Call Center Support                                                                                                            4,806.96
                                                                                                        SUBTOTAL                83,598.07

  Expenses: Other Charges and Out-of-Pocket Costs
  Call Center/Telecommunications                                                                                                 9,156.44
  Postage/Federal Express                                                                                                          217.81
  Post Office Box Rental
  Shredding/Storage                                                                                                              1,098.97
  Photocopies/Faxing/Printing                                                                                                      565.60
  Address Traces                                                                                                                   275.00
  Website Hosting                                                                                                                  300.00
                                                                                                        SUBTOTAL                11,613.82

                                                                                                  TOTAL INVOICE        $        95,211.89

                                                                                PAYMENT TERMS: NET DUE UPON RECEIPT
  WIRE INFORMATION                                        RUST
  ACCOUNT #: 8093434387                                   PAYMENT MAILING ADDRESS:
  ABA/ROUTING # WIRE or ACH: 111014325                    P O BOX 142589
  BANK: BANK OF TEXAS, DALLAS, TX 75225                   DRAWER #9051
  BANK CONTACT: MAYRA LANDEROS 214.987.8817               Irving, TX 75014-2589
  REFERENCE: INVOICE NUMBER




MINNEAPOLIS, MN    FARIBAULT, MN   MELVILLE, NY   PALM BEACH GARDENS, FL   PHILADELPHIA, PA   SAN FRANCISCO, CA   SEATTLE, WA   WASHINGTON, DC
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            EXHIBIT 2
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                                                                                                                     Invoice

  625 MARQUETTE AVENUE, SUITE 880                                                                 DATE:                            09/05/14
  MINNEAPOLIS, MN 55402                                                                           INVOICE #:                       14-5716
  P 612.359.2000 I F 612.359.2050                                                                 MATTER #:                            8292
  WWW.RUSTCONSULTING.COM
  FEDERAL ID #: XX-XXXXXXX


  TO: Francis O. Scarpulla
       Zelle Hofmann Voelbel & Mason LLP
       44 Montgomery Street
       Suite 3400
       San Franciso, CA 94104
       fscarpulla@zelle.com
       jdc@coopkirk.com

                                                                  PROJECT
                                                          LCD Indirect
                                           August 2014 Claims Administration Services

  Project Database                                                                                                      $         2,823.30
  Project Management                                                                                                             17,828.46
  Technical Consulting                                                                                                              479.80
  Website Modification                                                                                                              136.50
  Document Receipting                                                                                                               246.40
  Scanning                                                                                                                          409.20
  Correspondence/Admin Mail                                                                                                       2,763.60
  Data Capture                                                                                                                       68.75
  Claims Validation & Audits                                                                                                     66,744.50
  Deficiency Claim Processing                                                                                                     8,228.87
  Mailroom & Data Capture Management                                                                                                 92.40
  Call Center Support                                                                                                             8,005.19
  Bank Account Mgmt/Tax Reporting                                                                                                   792.00
                                                                                                        SUBTOTAL                108,618.97

  Expenses: Other Charges and Out-of-Pocket Costs
  Call Center/Telecommunications                                                                                                  5,698.18
  Postage/Federal Express                                                                                                           777.01
  Shredding/Storage                                                                                                               1,104.78
  Photocopies/Faxing/Printing                                                                                                     6,424.14
  Website Hosting                                                                                                                   300.00
                                                                                                        SUBTOTAL                 14,304.11

                                                                                                   TOTAL INVOICE       $        122,923.08

                                                                                 PAYMENT TERMS: NET DUE UPON RECEIPT
  WIRE INFORMATION                                         RUST
  ACCOUNT #: 8093434387                                    PAYMENT MAILING ADDRESS:
  ABA/ROUTING # WIRE or ACH: 111014325                     P O BOX 142589
  BANK: BANK OF TEXAS, DALLAS, TX 75225                    DRAWER #9051
  BANK CONTACT: MAYRA LANDEROS 214.987.8817                Irving, TX 75014-2589
  REFERENCE: INVOICE NUMBER




MINNEAPOLIS, MN    FARIBAULT, MN   MELVILLE, NY   PALM BEACH GARDENS, FL   PHILADELPHIA, PA   SAN FRANCISCO, CA   SEATTLE, WA   WASHINGTON, DC
